
92 N.Y.2d 885 (1998)
Joseph S. Boyd, Appellant,
v.
Bethlehem Steel Corporation, Defendant and Third-Party Plaintiff-Respondent. 7-7, Inc., Third-Party Defendant-Respondent. (And Three Other Actions.)
Court of Appeals of the State of New York.
Submitted June 8, 1998
Decided August 27, 1998.
Motion, insofar as it seeks leave to appeal from the Appellate Division order that affirmed the denial of appellant's motion to compel the acceptance of an amended/supplemental bill of particulars and the Appellate Division order that affirmed the denial of appellant's motion to renew, dismissed upon the ground that those orders do not finally determine the action within the meaning of the Constitution; motion for leave to appeal otherwise denied.
